                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION

REBECCA WEATHERS,                             )
                                              )
       Plaintiff,                             )
                                              )       No. 5:12-cv-57
       vs.                                    )
                                              )
PMAB, LLC,                                    )       JURY DEMAND ENDORSED HEREON
                                              )
       Defendant.                             )


                                           COMPLAINT

       NOW COMES the Plaintiff, REBECCA WEATHERS, by and through her attorney,

MITCHEL E. LUXENBURG, and for her Complaint against the Defendant, PMAB, LLC,

Plaintiff alleges and states as follows:

                                 PRELIMINARY STATEMENT

       1.      This is an action for damages for violations of the Fair Debt Collection Practices

Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq., and the North Carolina Prohibited

Practices by Collection Agencies Engaged in the Collection of Debts from Consumers Statute,

N.C. Gen. Stat. § 58-70-90, et seq.

                                 JURISDICTION AND VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.

                                            PARTIES

       3.      Plaintiff is an individual who was at all relevant times residing in Maiden, North

Carolina.




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        4.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3) and N.C. Gen. Stat. §

58-70-90(2), as she is a natural person allegedly obligated to pay a debt.

        5.      At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6) and as a “collection agency” within the meaning of N.C. Gen. Stat. § 58-

70-90(1), in that it held itself out to be a company collecting a consumer debt allegedly owed by

Plaintiff.

        6.      The aforementioned alleged debt is a “debt” within the meaning of 15 U.S.C. §

1692a(5), in that it is an alleged obligation of Plaintiff to pay money arising out of a transaction

in which the money, property, insurance and/or services which are the subject of the transaction

were primarily for personal, family and/or household purposes.

        7.      On information and belief, Defendant is a limited liability company of the State of

North Carolina and which has its principal place of business in Charlotte, North Carolina.

                                              COUNT I

                         (Violation of the Fair Debt Collection Practices Act)

        8.      Defendant, through its agents, representatives and/or employees, began contacting

Plaintiff during or about February of 2011 in attempts to collect the aforementioned alleged debt.

        9.      On or about March 8, 2011, Plaintiff notified Defendant in writing that she

wished for all communications from Defendant to cease.          A copy of said letter is attached as

Plaintiff’s Exhibit 1.

        10.     On or about December 28, 2011 at 9:49 a.m., Defendant’s agent, representative

and/or employee contacted Plaintiff by telephone in another attempt to collect the alleged debt.

        11.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:




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               a.       Continuing to communicate with Plaintiff after Defendant was

                        notified in writing that Plaintiff wished for Defendant to cease

                        further communication with her, in violation of 15 U.S.C. §

                        1692c(c); and

               b.       By acting in an otherwise deceptive, unfair and unconscionable manner

                        and failing to comply with the FDCPA.

       12.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, REBECCA WEATHERS, respectfully prays for a judgment

against Defendant as follows:

               a.       Statutory damages of $1,000.00 for each violation of the FDCPA;

               b.       All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and

               c.       Any other relief deemed appropriate by this Honorable Court.

                                              COUNT II

          (Violation of the North Carolina Prohibited Practices by Collection Agencies

                    Engaged in the Collection of Debts from Consumers Statute)

       13.     Plaintiff hereby adopts, re-alleges and incorporates by reference all allegations set

forth above as though fully rewritten here.

       14.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

North Carolina Prohibited Practices by Collection Agencies Engaged in the Collection of Debts

from Consumers Statute in one or more of the following ways:




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               a.      By acting in an otherwise deceptive, unfair and unconscionable manner

                       and failing to comply with North Carolina law.

       15.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, REBECCA WEATHERS, respectfully prays for a judgment

against Defendant as follows:

               a.      Statutory damages of $4,000.00 for each violation of the North Carolina

                       Prohibited Practices by Collection Agencies Engaged in the Collection of

                       Debts from Consumers Statute;

               b.      All reasonable attorneys’ fees, witness fees, court costs and other litigation

                       costs incurred by Plaintiff; and

               c.      Any other relief deemed appropriate by this Honorable Court.


                                        JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of her claims in this action.

                                                      Respectfully Submitted,

                                                      /s/ Mitchel E. Luxenburg
                                                      Mitchel E. Luxenburg (42021)
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